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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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GOVERNMENT EMPLOYEES INSURANCE
CO., GEICO INDEMNITY CO., GEICO
GENERAL INSURANCE COMPANY and
GEICO CASUALTY CO.,                                                ORDER

                                      Plaintiffs,                  No. 12-cv-4295 (NG) (JO)

         -against-

AMD CHIROPRACTIC, P.C., ST. MARKS
CHIROPRACTIC, P.C., DGI
CHIROPRACTIC, P.C., and DANETTE
STEFANELLI, DC,

                                      Defendants.
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GERSHON, United States District Judge:

         The court adopts the unopposed Report and Recommendation of Magistrate Judge James

Orenstein, dated August 21, 2013, regarding the damages to be awarded to the plaintiffs in this

case. As recommended by Judge Orenstein, plaintiffs are awarded judgment in the total amount

of$940,758.62, allocated as follows: $170,144.30 in damages, plus $48,559.37 in pre-judgment

interest, jointly and severally against defendants AMD Chiropractic, P.C. and Stefanelli on the

state law claims against them; $60,090.69 in damages, plus $28,740.01 in pre-judgment interest,

jointly and severally against defendants St. Marks Chiropractic, P.C. and Stefanelli on the state

law claims against them; $53,282.89 in damages, plus $12,905.60 in pre-judgment interest,

jointly and severally against defendants DGI Chiropractic, P .C. and Stefanelli on the state law

claims against them; and $850,553.64 against defendant Stefanelli alone on the RICO Act

claims, with credit for the damages awarded on the state claims (for a reduced total of

$567,035.76 for which defendant Stefanelli alone is liable). In addition, the Clerk of Court is
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directed to enter a Declaratory Judgment in favor of the plaintiffs that they are not obligated to

pay any outstanding claims, i.e., pending unpaid bills, that have been submitted to GEICO by the

three corporate defendants.

       The Clerk is directed to enter judgment accordingly.



                                                    SO ORDERED.
                                                        A.     '     JA
                                                        s/Nina Gershon
                                                    NINA GERSHON
                                                    United States District Judge


Dated: September / ( , 2013
       Brooklyn, New York




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